                           UNITED STATES BANKRUPTCY COURT

                             WESTERN DISTRICT OF LOUISIANA

                                     LAFAYETTE DIVISION

 IN   RE:     BLACKROCK INTERNATIONAL, INC.                         CASE NO. 22-50015




              DEBTOR                                    CHAPTER                  11
                              OBJECTION TO CHAPTER 11 PLAN

          COMES NOW, through undersigned counsel, Servis One, Inc. dba BSI Financial

Services, servicer for Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not in its

individual capacity but solely as Owner Trustee of Residential Credit Opportunities Trust II

("Movant"), a secured creditor, who objects to the debtor's Chapter 11 Plan
                                                                            [Doc 37], filed on
May 27,2022, on the following grounds:

                                                  1.


          Movant and Debtor have been in negotiations since the f,rling of the Chapter l1 Plan
                                                                                               [Doc
3Tlregarding the treatment of Movant's secured claim, which is secured by the sole asset of the

Debtor.

                                                 2.

          Movant and Debtor have agreed upon the terms for the treatment of Movant's secured

claim, which are set forth in Debtor's Amended Chapter 1l Plan [Doc 55] filed on September       l,
2022.

                                                 3.

          Debtor also filed a Motion to Withdraw/Dismiss [Doc 54] the original Chapter 11 Plan

[Doc 37] on September 1,2022.




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                                                 4.

       As of the filing of this Objection, the Movant has not received notice of nor has the Court's

docket indicated that the Motion to WithdradDismiss [Doc 54] the original Chapter 1 1 Plan
                                                                                           [Doc

371 has been allowed.


                                                 5.


       Movant has received verbal confirmation from Debtor's counsel of the hearing date for the

Amended Chapter 1l Plan [Doc 55] and assurances that confirmation of the original Chapter 1l

Plan [Doc 37] will not be moving forward.

                                                 6.

       Out of an abundance of caution to avoid missing the objection deadline, Movant submits

this Objection to confirmation of the original Chapter 1 1 Plan filed on May   27   ,2022 lDoc 37f, as
the terms do not accurately reflect the agreement of the Parties regarding the treatment of Movant's

secured claim.

                                                 7.

       Upon withdrawal of the Chapter 11 Plan filed on May 27,2022lDoc 371, and,entry of the

Amended Chapter 11 Plan lDoc 55] filed on September I,2002,this objection shall be moot.

Respectfully Submitted :
Condon,        & Burkhart, L.L.C
By


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                         UNITED STATES BANKRUPTCY COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     LAFAYBTTE DIVISION

 IN   RE:   BLACKROCK INTERNATIONAL, INC.                          CASE NO.22-5001s




            DEBTOR                                                 CHAPTER      11

                                CERTIFICATB OF SERVICE

       I, Allison N. Beasley, do hereby certify that on September 6. 2022. that I did cause this

Objection to Chapter 11 Plan to be delivered to all interested parties of record described below

by the following method:

Placing q copy in the (JS mail, properly addressed & postage prepaid.

        Blackrock International, Inc.
        208 Gilbert Street
        Opelousaso Louisiana    7   0570

Confirming that the Clerk of Court has transmitted, or by personally transmitting a copy of this
pleading by attaching it in PDFformat to electronic mail that was sent to the appropriate email
address identified by the interested party.

       David Patrick Keating, Attorney for Debtor
       rick@dmsfirm.com

       Office of U.S. Trustee
       USTPRegion05. SH.ECF@usdoj gov      .




       Baton Rouge, Louisiana, September 6.2022.




                                                                     EASLEY          618




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